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                          EXHIBIT 295 – A
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     1              IN THE UNITED STATES DISTRICT COURT
     2               FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                            - - -
     5
            IN RE: NATIONAL             :    MDL NO. 2804
     6      PRESCRIPTION OPIATE         :
            LITIGATION                  :
     7                                  :
            ------------------------------------------------
     8      THIS DOCUMENT RELATES TO    : CASE NO.
            ALL CASES                   : 1:17-MD-2804
     9                                  :
                                        : Hon. Dan A.
    10                                  : Polster
    11                          - - -
    12                      February 8, 2019
    13                          - - -
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    14                   CONFIDENTIALITY REVIEW
    15
    16                   Continued videotaped deposition
          of STEPHEN MAYS taken pursuant to notice, was
    17    held at the law offices of Reed Smith LLP, Three
          Logan Square, 1717 Arch Street, Suite 3100,
    18    Philadelphia, Pennsylvania, beginning at 11:12
          a.m., on the above date, before Ann Marie
    19    Mitchell, a Federally Approved Certified Realtime
          Reporter, Registered Diplomate Reporter,
    20    Registered Merit Reporter and Notary Public.
    21
                                      -   -   -
    22
                          GOLKOW LITIGATION SERVICES
    23                  877.370.3377 ph | 917.591.5672 fax
                               deps@golkow.com
    24

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                                          Page 2                                                      Page 4
    1   APPEARANCES:                                1 APPEARANCES VIA TELEPHONE/STREAM:
    2                                               2
    3     BARON & BUDD, P.C.                        3   BARON & BUDD, P.C.
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   13                                                   jlichter@baronbudd.com
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                                          Page 3                                                      Page 5
    1   APPEARANCES (cont.'d):                      1 APPEARANCES VIA TELEPHONE/STREAM (cont.'d):
    2                                               2
    3     JONES DAY                                 3   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C.
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          Representing Walmart                      8
    7
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   11     mmonaghan@cov.com                        13
          Representing McKesson Corporation             REED SMITH LLP
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   13                                                   Three Logan Square
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   16     (202) 434-5000                           18
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   17                                                   ROPES & GRAY LLP
   18                                              20   BY: LUKE D. RILEY, ESQUIRE
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   21                                                   Boston, Massachusetts 02199
   22
                                                   22   (617) 951-7000
                                                        luke.riley@ropesgray.com
   23                                              23   Representing Mallinckrodt
   24                                              24

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    1 APPEARANCES VIA TELEPHONE/STREAM (cont.'d):             1             - - -
    2                                                         2             INDEX
    3   ARNOLD & PORTER KAYE SCHOLER LLP                      3             - - -
        BY: ZENO HOUSTON, ESQUIRE                             4
    4   250 West 55th Street                                  5
        New York, New York 10019                                  Testimony of: STEPHEN MAYS
                                                              6   By Mr. Pifko           12
    5   (212) 836-8000                                        7
        zeno.houston@arnoldporter.com
    6   Representing Endo Health Solutions; Endo                             - - -
        Pharmaceuticals, Inc.; Par Pharmaceutical             8
    7   Companies, Inc. f/k/a Par Pharmaceutical                           EXHIBITS
        Holdings, Inc.                                        9
    8                                                                        - - -
    9                                                        10
        BARNES & THORNBURG LLP                               11   NO.          DESCRIPTION          PAGE
   10   BY: MONIQUE HANNAM, ESQUIRE                          12   Mays V2-1 Order to Show Cause and     17
        11 South Meridian Street
   11   Indianapolis, Indiana 46204                                     Immediate Suspension of
                                                             13         Registration, Bates
        (317) 236-1313
   12   monique.hannam@btlaw.com                                        stamped ABDCMDL00269383
                                                             14         through ABDCMDL00269387
        Representing HD Smith
   13                                                        15   Mays V2-2 Email chain, top one dated 91
   14                                                                   3 Mar 2013, Bates stamped
        VIDEOGRAPHER:                                        16         ABDCMDL00378483 through
   15     DAVID LANE                                                    ABDCMDL00378488
   16                                                        17
        TRIAL TECHNICIAN:                                         Mays V2-3 Email chain, top one dated     99
   17     ZACH HONE                                          18         2/6/2008, Bates stamped
   18
   19   ALSO PRESENT:                                                   CAH_MDL2804_01364805
                                                             19         through
         CHRISTOPHER CASALENUOVO, ESQUIRE
   20    AmerisourceBergen Drug Corporation                             CAH_MDL2804_01364809
   21                                                        20
   22   ALSO PRESENT VIA TELEPHONE/STREAM:                   21
   23                                                        22
          TIFFANY ELLIS                                      23
   24     Weitz & Luxenberg P.C.                             24

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           JOSH GAY
    2                                                         3            - - -
           Levin Papantonio Thomas Mitchell                   4
           Rafferty Proctor P.A.
    3                                                                 Direction to Witness Not to Answer
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    4      EMMA KABOLI                                                       Page Line
           Baron & Budd, P.C.                                 6
    5                                                         7
    6      ALEX SHERMAN                                       8
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    1         THE VIDEOGRAPHER: We're now on         1      Arnold & Porter on behalf of Endo and
    2    the record. My name is David Lane,         2       Par.
    3    videographer for Golkow Litigation         3            MR. FARRELL: Paul Farrell on
    4    Services. Today's date is 11:12 a.m.       4       behalf of the PEC.
    5    This deposition is taking place in         5            COURT REPORTER: Counsel?
    6    Philadelphia, Pennsylvania in the matter   6            MS. McCLURE: Paul? Hey, Paul,
    7    of National Prescription Opiate            7       you're going to have to restate that. I
    8    Litigation MDL.                            8       could hear your name vaguely, but the
    9         Our deponent today is Steve Mays.     9       court reporter and the videographer could
   10    All counsel will be noted on the          10       not hear you.
   11    stenographic record.                      11            MR. FARRELL: This is Paul
   12         The court reporter is Ann Marie      12       Farrell, Jr., for the PEC. And I will be
   13    Mitchell, who will now swear in our       13       on for portions of today but not the
   14    witness.                                  14       entire duration.
   15              - - -                           15            MR. PIFKO: All right.
   16         STEPHEN MAYS, after having been      16
   17    duly sworn, was examined and testified as 17                - - -
   18    follows:                                  18              EXAMINATION
   19              - - -                           19                - - -
   20         THE VIDEOGRAPHER: Please begin.      20 BY MR. PIFKO:
   21         MR. PIFKO: Could we get everyone     21       Q. Ready to begin?
   22    to state their appearance, or did people  22       A. Yes, sir.
   23    already do that?                          23       Q. You understand that you're under
   24         Mark Pifko from Baron & Budd on      24 oath.
                                           Page 11                                           Page 13
    1    behalf of the plaintiffs and the PEC.       1 A. Yes, sir.
    2        MR. POWERS: Will Powers, also      2      Q. Correct?
    3    from Baron & Budd.                     3          Okay. And that means that you
    4        MS. McCLURE: Shannon McClure on    4 are under penalty of perjury. And if you are
    5    behalf of ABDC.                        5 intentionally dishonest or misleading, that you
    6        MR. MELTON: Jeffrey Melton on      6 could be subject to penalties from the court.
    7    behalf of ABDC.                        7          Do you understand that?
    8        MR. CASALENUOVO: Chris             8      A. I understand.
    9    Casalenuovo with ABDC.                 9      Q. Okay. Is there any reason why
   10        MS. PIERCE: Abigail Pierce,       10 you're unable to give truthful and accurate
   11    Reed.                                 11 testimony today?
   12        MS. MONAGHAN: Meghan Monaghan 12          A. No.
   13    for McKesson.                         13      Q. Are you undergoing any medical
   14        MS. ADAMS: Kate Adams for         14 treatment or taking any medications that would
   15    Cardinal Health.                      15 impact your ability to tell the truth?
   16        MR. HOLLINGSWORTH: Adam           16      A. No.
   17    Hollingsworth on behalf of Walmart.   17      Q. Are you undergoing any treatment
   18        THE VIDEOGRAPHER: Counsel on the 18 or taking any medication that would impact your
   19    phone?                                19 memory?
   20        MS. HANNAM: This is Monique       20      A. No.
   21    Hannam on behalf of HD Smith.         21      Q. Is there any reason why this
   22        MR. RILEY: Luke Riley on behalf   22 deposition shouldn't go forward, as far as you
   23    of Ropes & Gray.                      23 know?
   24        MR. HOUSTON: Zeno Houston from    24      A. As far as I know.

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    1       Q. Okay. So you were deposed a few            1       was the most senior role.
    2 months ago or so in this case.                      2 BY MR. PIFKO:
    3            Do you recall?                           3       Q. And then later you became an
    4       A. I do.                                      4 auditor. Correct?
    5       Q. Okay. One of the things we                 5       A. Yes.
    6 discussed in your prior deposition was your work    6       Q. And part of your responsibilities
    7 history with your current employer.                 7 involved auditing the facilities, including the
    8            Do you recall that?                      8 Orlando facility. Correct?
    9       A. Yes.                                       9       A. Originally not the Orlando
   10       Q. During your last deposition, we           10 facility.
   11 discussed how one of the things that you did was   11       Q. But ultimately you did have
   12 you established the Orlando facility for the       12 responsibilities that included auditing the
   13 company.                                           13 Orlando facility. Correct?
   14            Do you recall that discussion?          14       A. I believe --
   15            MS. McCLURE: Objection to form.         15           MS. McCLURE: Objection, asked
   16            THE WITNESS: I didn't establish         16       and answered.
   17       it alone. I was the operations manager.      17           THE WITNESS: I believe that was
   18 BY MR. PIFKO:                                      18       in my area of responsibility, yes.
   19       Q. Okay.                                     19 BY MR. PIFKO:
   20       A. When it was opened, yes.                  20       Q. Are you familiar with the order
   21       Q. But you were one of the people            21 to show cause that was issued concerning the
   22 who was responsible for establishing the Orlando   22 Orlando facility?
   23 facility. Correct?                                 23       A. Yes.
   24       A. That's right.                             24           MS. McCLURE: Objection, asked
                                               Page 15                                                         Page 17
    1            MS. McCLURE: Objection to form.          1      and answered.
    2 BY MR. PIFKO:                                       2           Are we doing a continuation of
    3       Q. You moved from, I believe you              3      the exhibit numbering?
    4 were in Kentucky or Tennessee?                      4           MR. PIFKO: We're calling it
    5       A. Tennessee.                                 5      Volume 2.
    6       Q. Okay. Tennessee. You moved from            6           MS. McCLURE: Thank you.
    7 there to Orlando in order to help establish the     7                 - - -
    8 Orlando facility. Correct?                          8           (Deposition Exhibit No. Mays
    9       A. That's correct.                            9      V2-1, Order to Show Cause and Immediate
   10       Q. And then you -- what was your             10      Suspension of Registration, Bates stamped
   11 first role at the Orlando facility?                11      ABDCMDL00269383 through ABDCMDL00269387,
   12            MS. McCLURE: Objection, asked           12      was marked for identification.)
   13       and answered.                                13                 - - -
   14            THE WITNESS: I was the                  14 BY MR. PIFKO:
   15       operations manager.                          15      Q.    I'm handing you what's marked as
   16 BY MR. PIFKO:                                      16 Exhibit 1. Volume 2, Exhibit 1.
   17       Q. And did you have that role the            17           For the record, it's a letter
   18 whole time that you were there?                    18 from the DEA dated April 19, 2007, Bates labeled
   19       A. Not the whole time, no.                   19 ABDCMDL00269383 through 387.
   20       Q. What was your most senior role            20           Have you seen this exhibit
   21 when you left the Orlando facility?                21 before?
   22            MS. McCLURE: Objection, asked           22           MS. McCLURE: The document or the
   23       and answered, form.                          23      exhibit?
   24            THE WITNESS: Operations manager         24           THE WITNESS: I've seen this

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    1       document before, yes.                        1 order to show cause?
    2 BY MR. PIFKO:                                      2             MS. McCLURE: Objection to form.
    3       Q. Can you tell me what this is?             3             THE WITNESS: I'm not sure what
    4       A. It is an order to show cause and          4        that -- I'm not sure what you mean by
    5 immediate suspension of the Orlando registration.  5        changes operationally.
    6       Q. When was the last time you saw            6 BY MR. PIFKO:
    7 this document?                                     7        Q. Well, let's go through and see --
    8       A. I can't recall.                           8 let's look at Exhibit 1 and see what the
    9       Q. Is this something that you                9 Department of Justice said to AmerisourceBergen
   10 reviewed in preparing for your deposition?        10 in this letter.
   11       A. No.                                      11             It said, "Respondent" -- you see
   12       Q. Okay. Do you believe you saw             12 on the first page here, there's a number of
   13 this on or around the time it was issued in April 13 paragraphs, starting about halfway down.
   14 of 2007?                                          14             It says, "Respondent has failed
   15           MS. McCLURE: Objection to form.         15 to maintain effective controls against diversion
   16           THE WITNESS: Sometime after the         16 of particular controlled substances into other
   17       suspension. I didn't see it immediately.    17 than legitimate medical, scientific and
   18 BY MR. PIFKO:                                     18 industrial channels, in violation of 21 U.S.C.
   19       Q. Okay. But sometime on or                 19 Sections 823(b)(1) and (e)(1)."
   20 around -- it was -- after it was issued, it was   20             Do you see that?
   21 provided to you. Correct?                         21        A. I do.
   22       A. That's correct.                          22        Q. Did I read that correctly?
   23       Q. Who would have provided it to            23        A. I believe you did.
   24 you?                                              24        Q. And then it says, "From January
                                              Page 19                                              Page 21
    1           MS. McCLURE: Objection to form.          1 1, 2006, through January 31, 2007, Respondent
    2           THE WITNESS: I don't recall.             2 distributed over 3.8 million dosage units of
    3 BY MR. PIFKO:                                      3 combination hydrocodone products to customers
    4       Q. Were you part of discussions              4 that it knew or should have known were diverting
    5 about what was going to be done to respond to      5 the hydrocodone into other than legitimate
    6 this order to show cause?                          6 medical, scientific and industrial channels."
    7           MS. McCLURE: Objection to form.          7           Do you see that?
    8           THE WITNESS: Internally or with          8       A. Yes, I do.
    9       DEA?                                         9       Q. Did I read that correctly?
   10 BY MR. PIFKO:                                     10       A. I think you did.
   11       Q. Internally.                              11       Q. Did you understand at the time
   12       A. Internally. Yes. I was part of           12 that that was a concern raised by the Department
   13 some discussions, yes.                            13 of Justice with respect to AmerisourceBergen?
   14       Q. Who did you discuss this order to        14       A. Yes, I understand that.
   15 show cause with?                                  15           MS. McCLURE: Objection to the
   16       A. My boss, Chris Zimmerman.                16       form.
   17       Q. Anyone else?                             17 BY MR. PIFKO:
   18       A. Not that I remember.                     18       Q. Did you have an understanding
   19       Q. What was the nature of your              19 about what the specific basis was for that
   20 discussion with Mr. Zimmerman?                    20 concern?
   21       A. I don't recall exactly.                  21           MS. McCLURE: Objection to the
   22       Q. Did you discuss that you were            22       form.
   23 going to make any changes to the operations at    23           THE WITNESS: Can you repeat that
   24 the Orlando facility as a result of seeing this   24       question again?

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    1 BY MR. PIFKO:                                        1 Justice they were wrong. Correct?
    2        Q. So it says here that                       2           MS. McCLURE: Objection to form.
    3 AmerisourceBergen failed to maintain effective       3           THE WITNESS: I don't know.
    4 controls against diversion. And then it says         4 BY MR. PIFKO:
    5 that AmerisourceBergen distributed over              5       Q. Sitting here today, you're not
    6 3.8 million dosage units of combination              6 aware of anyone responding to the Department of
    7 hydrocodone products to customers that it knew or    7 Justice in connection with this and saying the
    8 should have known were diverting them.               8 sales figures you're providing in your letter are
    9            Did I read that -- summarize it           9 incorrect.
   10 correctly?                                          10           Would you agree with that?
   11        A. I just asked you to repeat the            11           MS. McCLURE: Objection to form.
   12 question.                                           12           THE WITNESS: Again, I don't know
   13        Q. Yeah. Did I summarize that                13       what was said.
   14 correctly?                                          14 BY MR. PIFKO:
   15        A. I think you did.                          15       Q. What was your title at this time?
   16        Q. Okay. So my question is, do you           16       A. 2007, I would have -- I believe I
   17 have an understanding about the specific basis of   17 was director of regulatory affairs.
   18 why the Department of Justice said that?            18       Q. Were the policies and procedures
   19        A. Yes.                                      19 at the Orlando facility consistent with the
   20        Q. Okay. What is your                        20 company's policies around the country?
   21 understanding?                                      21           MS. McCLURE: Objection to form.
   22        A. That the Department of Justice            22           THE WITNESS: Yes, they were.
   23 felt like we were shipping a large quantity to --   23 BY MR. PIFKO:
   24 of hydrocodone combination products to customers    24       Q. So with respect to diversion
                                               Page 23                                                Page 25
    1 in Florida, in their opinion.                      control, there was nothing different going on at
                                                           1
    2       Q. Were you in fact shipping the           2 the Orlando facility than there was at any other
    3 quantities that they said you were shipping?     3 facility. Correct?
    4       A. I can't verify that to the              4            MS. McCLURE: Objection to form.
    5 number.                                          5            THE WITNESS: Not that I know of.
    6       Q. Do you recall ever --                   6 BY MR. PIFKO:
    7       A. I'm sure -- go ahead.                   7       Q. Do you know why you said earlier
    8       Q. Do you recall ever disputing            8 that the Department of Justice was concerned
    9 that the numbers that they were providing were   9 about the volume of these products, these
   10 incorrect?                                      10 hydrocodone combination products, that were being
   11            MS. McCLURE: Objection to form.      11 sold to customers? Agreed?
   12            THE WITNESS: I don't recall that     12            MS. McCLURE: Objection to form.
   13       we disputed it, no.                       13            THE WITNESS: I agree that
   14 BY MR. PIFKO:                                   14       they -- I would assume they were
   15       Q. So to your recollection, you           15       concerned or they wouldn't have suspended
   16 never told the Department of Justice their      16       the registration.
   17 numbers were wrong. Agreed?                     17 BY MR. PIFKO:
   18            MS. McCLURE: Objection to form.      18       Q. Why were they concerned about
   19            THE WITNESS: I wasn't involved       19 these volumes?
   20       in the discussions with the Department of 20            MS. McCLURE: Objection to form.
   21       Justice.                                  21            THE WITNESS: I don't know.
   22 BY MR. PIFKO:                                   22 BY MR. PIFKO:
   23       Q. Okay. But to your knowledge, no        23       Q. You have no idea why this was a
   24 one at AmerisourceBergen told the Department of 24 concern?


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    1            MS. McCLURE: Same objection.             1 with the DEA, correct --
    2            THE WITNESS: I didn't have any           2      A. Yes, I do.
    3       conversations with DEA about it, so I         3      Q. -- in 2005?
    4       don't know how they formed that opinion.      4          MS. McCLURE: Objection, asked
    5 BY MR. PIFKO:                                       5      and answered.
    6       Q. Well, let's go to the second page          6 BY MR. PIFKO:
    7 here.                                               7      Q. Who was present at this meeting?
    8            Again, there's numbered                  8          MS. McCLURE: Objection, asked
    9 paragraphs. There's a paragraph number 5 at the     9      and answered.
   10 bottom there.                                      10          THE WITNESS: Myself and Mike
   11       A. Okay.                                     11      Mates (ph) from DEA. And then there was
   12       Q. I'm going to read it to you, and          12      an attorney there, counsel, that I don't
   13 tell me if I read it correctly.                    13      recall his name.
   14            It says, "On August 10, 2005, DEA       14 BY MR. PIFKO:
   15 personnel met with Steve Mays, Respondent's        15      Q. Attorney for the Department of
   16 Director of Regulatory Affairs, to inform him      16 Justice?
   17 about the common characteristics of pharmacies     17      A. Yes. Or for DEA.
   18 that divert large amounts of controlled            18      Q. Okay. Was there anyone else from
   19 substances by filling invalid prescriptions        19 AmerisourceBergen who was present at this
   20 obtained by customers using the Internet."         20 meeting?
   21            Do you see that?                        21          MS. McCLURE: Objection, asked
   22       A. Yes, I do.                                22      and answered.
   23       Q. Did I read that correctly?                23          THE WITNESS: No, there wasn't.
   24       A. Yes, you did.                             24 BY MR. PIFKO:

                                              Page 27                                                Page 29
    1       Q. Do you recall having a meeting             1       Q. Do you agree with the
    2 with DEA personnel on August 10, 2005?              2 characterization in this letter that at that
    3            MS. McCLURE: Objection, asked            3 meeting they informed you about the common
    4       and answered.                                 4 characteristics of pharmacies that divert large
    5            THE WITNESS: I don't recall if           5 amounts of controlled substances by filling
    6       that was the exact date, but I do recall      6 invalid prescriptions obtained by customers using
    7       the meeting, yes.                             7 the internet?
    8 BY MR. PIFKO:                                       8       A. Yes.
    9       Q. Does this refresh your                     9       Q. It says, going on to page 3, "DEA
   10 recollection about what your title was on or       10 personnel reminded Respondent that under 21
   11 around this time?                                  11 U.S.C. Sections 823(b)(1) and (e)(1), Respondent
   12       A. Yes.                                      12 was responsible to prevent the diversion of
   13       Q. Okay. So when it says here that           13 controlled substances."
   14 you were director of regulatory affairs, is that   14           Do you see that?
   15 correct?                                           15       A. I see that, yes.
   16       A. That's correct.                           16       Q. Did I read that correctly?
   17       Q. Was that your title on or around          17       A. Yes, you did.
   18 the time that this order to show cause was         18       Q. Do you recall the DEA informing
   19 issued?                                            19 you during that meeting that AmerisourceBergen
   20            MS. McCLURE: Objection, asked           20 was responsible for preventing diversion of
   21       and answered.                                21 controlled substances?
   22            THE WITNESS: I think so, yes.           22           MS. McCLURE: Objection to form.
   23 BY MR. PIFKO:                                      23           THE WITNESS: I don't recall that
   24       Q. So you recall having this meeting         24       specifically.

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                                               Page 30                                             Page 32
     1 BY MR. PIFKO:                                     1 BY MR. PIFKO:
     2      Q. How about generally?                      2      Q. Who would you have told if you
     3          MS. McCLURE: Same.                       3 told someone?
     4          THE WITNESS: Same.                       4           MS. McCLURE: Objection to form,
     5 BY MR. PIFKO:                                     5      calls for speculation.
     6      Q. Do you recall during that meeting         6           THE WITNESS: I would have to
     7 the DEA discussing AmerisourceBergen's            7      speculate. I don't know. I couldn't
     8 responsibilities under the Controlled Substances  8      tell you for sure. Again, that was 12
     9 Act?                                              9      years ago.
    10          MS. McCLURE: Objection to form.         10 BY MR. PIFKO:
    11          THE WITNESS: Not specifically.          11      Q. Okay. Next sentence here,
    12 BY MR. PIFKO:                                    12 "Notwithstanding the information provided to
    13      Q. How about generally, do you              13 Respondent, after the August 10, 2005 meeting,
    14 remember --                                      14 Respondent sold over 5.2 million dosage units of
    15      A. That was 12 years ago.                   15 hydrocodone to pharmacies that bore the
    16      Q. Okay. How about generally, do            16 characteristics that DEA described in the August
    17 you remember them discussing any expectations    17 10, 2005 meeting."
    18 about what AmerisourceBergen was supposed to do 18            Do you see that?
    19 with respect to complying with the Controlled    19      A. Yes, I do.
    20 Substances Act?                                  20      Q. Did I read that correctly?
    21          MS. McCLURE: Objection to form.         21      A. I believe you did.
    22          THE WITNESS: Not specifically.          22      Q. Do you agree with that statement?
    23 BY MR. PIFKO:                                    23           MS. McCLURE: Objection to form.
    24      Q. How about generally?                     24           THE WITNESS: I can't verify the
                                               Page 31                                             Page 33
     1           MS. McCLURE: Same objection.            1   quantities.
     2           THE WITNESS: Not -- not              2 BY MR. PIFKO:
     3      generally.                                3      Q. Other than verifying the
     4 BY MR. PIFKO:                                  4 quantities, do you agree with that statement?
     5      Q. So you don't have any                  5           MS. McCLURE: Same objection.
     6 recollection of whether you discussed the      6           THE WITNESS: I can't really
     7 Controlled Substances Act at that meeting?     7      agree with it because I don't -- I don't
     8           MS. McCLURE: Objection, asked        8      know. I don't recall.
     9      and answered.                             9 BY MR. PIFKO:
    10           THE WITNESS: Not specifically.      10      Q. You don't know either way?
    11 BY MR. PIFKO:                                 11      A. No.
    12      Q. When you left that meeting, you       12      Q. Do you have any reason to dispute
    13 reported back to Chris Zimmerman. Correct? 13 that AmerisourceBergen sold over 5.2 million
    14           MS. McCLURE: Objection, asked 14 dosage units of hydrocodone products to
    15      and answered.                            15 pharmacies that bore the characteristics
    16           THE WITNESS: I don't recall that 16 discussed at this August 10, 2005 meeting?
    17      I did.                                   17           MS. McCLURE: Objection to form.
    18 BY MR. PIFKO:                                 18           THE WITNESS: I don't have any
    19      Q. Did you tell anybody about that       19      specific reason to dispute it, no.
    20 meeting?                                      20 BY MR. PIFKO:
    21           MS. McCLURE: Same objection. 21             Q. Do you remember the DEA
    22           THE WITNESS: Not -- I don't         22 discussing specific characteristics of
    23      recall specifically. I'm sure I did, but 23 hydrocodone products during the August 10, 2005
    24      I don't recall specifically.             24 meeting?


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     1           MS. McCLURE: Objection to form,          1       Q. Do you recall writing anything
     2      asked and answered.                           2 down to change AmerisourceBergen's procedures
     3           THE WITNESS: Characteristics of          3 with respect to the due diligence it may perform
     4      hydrocodone products? Not that I recall.      4 with respect to customers after you had this
     5 BY MR. PIFKO:                                      5 meeting?
     6      Q. How about do you recall DEA                6            MS. McCLURE: Objection to form.
     7 describing certain characteristics of sales to     7            THE WITNESS: I don't recall
     8 certain types of pharmacies?                       8       writing things down.
     9           MS. McCLURE: Objection to form.          9 BY MR. PIFKO:
    10           THE WITNESS: I recall that, yes.        10       Q. Do you recall changing any
    11 BY MR. PIFKO:                                     11 policies or procedures in order to look for the
    12      Q. What specifically do you recall           12 criteria that the Department of Justice
    13 about that?                                       13 identified to you during this meeting?
    14      A. We discussed characteristics of           14            MS. McCLURE: Objection to form,
    15 internet pharmacy and what to look for.           15       assumes facts not in evidence,
    16      Q. What specifically were you                16       foundation.
    17 supposed to look for with respect to internet     17            THE WITNESS: I don't recall
    18 pharmacies?                                       18       specifically.
    19           MS. McCLURE: Objection to form.         19 BY MR. PIFKO:
    20           THE WITNESS: I don't recall             20       Q. How about generally?
    21      everything. A few things. I can tell         21            MS. McCLURE: Same.
    22      you what I do remember.                      22            THE WITNESS: Generally, I know
    23 BY MR. PIFKO:                                     23       we made some changes.
    24      Q. Yeah, that's what I'm asking.             24 BY MR. PIFKO:

                                               Page 35                                              Page 37
     1      A.     Okay. I'm trying to recall.
     2            To look for like FedEx boxes or
     3 UPS boxes piled up in the pharmacy that would
     4 indicate they're shipping drugs other than just
     5 filling them at the store. Other than that, I
     6 can't remember the specifics.
     7       Q. When you came back to this
     8 meeting, did you instruct anyone at
     9 AmerisourceBergen to look for those type of
    10 characteristics?
    11            MS. McCLURE: Objection to form.
    12            THE WITNESS: I don't recall
    13       specifically.
    14 BY MR. PIFKO:
    15       Q. How about generally?
    16            MS. McCLURE: Same.
    17            THE WITNESS: I'm sure I did, I
    18       just don't recall.
    19 BY MR. PIFKO:
    20       Q. Who would you have told?
    21            MS. McCLURE: Objection to form.
    22            THE WITNESS: Don't recall
    23       specifically.
    24 BY MR. PIFKO:                                                                                      ,

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                                               17      Q. Starting where we left off, it
                                               18 says, "Respondent continued to sell controlled
                                               19 substances to Grand, Discount Mail Meds and" Med
                                               20 Assistant "even though Respondent knew, or should
                                               21 have known, that these pharmacies were diverting
                                               22 controlled substances into other than legitimate
                                               23 medical, scientific and industrial channels."
                                               24          Do you see that?

                                     Page 39                                               Page 41
                                                1       A. Yes, I see that.
                                                2       Q. Did I read that correctly?
                                                3       A. Yes, you did.
                                                4       Q. If you go back to page 2,
                                                5 paragraph 3, it talks about how AmerisourceBergen
                                                6 distributed approximately a million dosage units
                                                7 of hydrocodone products to Grand Pharmacy.
                                                8            Do you see that?
                                                9            MS. McCLURE: Objection to form.
                                               10            THE WITNESS: I do.
                                               11 BY MR. PIFKO:
                                               12       Q. Did I read that correct -- did I
                                               13 summarize that correctly?
                                               14       A. I believe you did.
                                               15       Q. Okay. And then in paragraph 4,
                                               16 it talks about supplying hydrocodone products to
                                               17 a number of other pharmacies.
                                               18            Do you see that?
                                               19       A. Yes, I do.
                                               20       Q. And then it says in paragraph 4
                                               21 that the distribution of those was under
                                               22 circumstances that should have alerted
                                               23 AmerisourceBergen that the pharmacies were
                                               24 diverting hydrocodone.


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     1            Do you see that?                         1have known that they were diverting them to
     2       A. You said paragraph 4?                     2 illegitimate channels, you still feel like the
     3       Q. Yeah. The last sentence in the            3 company was doing enough, as the director of
     4 bottom of that first paragraph there.              4 regulatory affairs?
     5       A. Okay. I see it.                           5            MS. McCLURE: Objection, form.
     6       Q. Did I read that correctly?                6            THE WITNESS: I felt like we were
     7       A. Yes, sir.                                 7       doing the best we could as a distributor
     8       Q. Okay. Do you believe that the             8       to comply with the regulations. And we
     9 policies and procedures that you implemented       9       took steps to improve our due diligence
    10 after this August 2005 meeting were sufficient to 10       and our monitoring of our customers.
    11 detect diversion?                                 11 BY MR. PIFKO:
    12            MS. McCLURE: Objection, form.          12       Q. Do you believe you took adequate
    13            THE WITNESS: I believe that the        13 steps to improve your due diligence and monitor
    14       actions that we took enabled us to          14 customers?
    15       identify internet pharmacies. And I         15            MS. McCLURE: Objection, form.
    16       think we ceased distributing to some of     16            THE WITNESS: Yes.
    17       these. I can't tell you exactly which       17 BY MR. PIFKO:
    18       ones, but I believe we cut those off.       18       Q. Going to page 3 here, it says, in
    19 BY MR. PIFKO:                                     19 the middle of the second paragraph -- tell me
    20       Q. After you received this letter?          20 when you're there -- "it is my preliminary
    21       A. No. I think some of these were           21 conclusion that Respondent's continued
    22 cut off before this action was taken. I can't --  22 registration while these proceedings are pending
    23 I don't remember specifically which ones, but I   23 would constitute an imminent danger to the public
    24 do recall that when this happened, some of these 24 health and safety because of the substantial

                                                Page 43                                               Page 45
     1 customers that were mentioned, we had cut off       1 likelihood that Respondent will continue to
     2 before the suspension.                              2 supply pharmacies that divert large quantities of
     3      Q. Did receiving this letter cause             3 controlled substances."
     4 AmerisourceBergen to be concerned that it wasn't    4           Did I read that correctly?
     5 doing enough to comply with diversion control       5       A. Yes, you did.
     6 laws and regulations?                               6       Q. Upon receiving that, did that
     7           MS. McCLURE: Objection to form.           7 give you, as the director of compliance and
     8           THE WITNESS: I couldn't tell you          8 regulatory issues, concern about whether the
     9      what the company thought.                      9 company's practices were sufficient?
    10 BY MR. PIFKO:                                      10           MS. McCLURE: Objection to form.
    11      Q. How about you? You were                    11           THE WITNESS: No.
    12 regulatory affairs manager.                        12 BY MR. PIFKO:
    13      A. Director.                                  13       Q. Did you think the Department of
    14      Q. Director.                                  14 Justice's conclusions were wrong?
    15      A. Uh-huh.                                    15       A. I think so, yeah. They weren't
    16      Q. Did you feel like the company was          16 completely accurate, in my opinion.
    17 doing enough to prevent diversion when you         17       Q. Why do you say that they weren't
    18 received this order to show cause?                 18 completely accurate?
    19           MS. McCLURE: Objection, form.            19       A. I can't really say. I just don't
    20           THE WITNESS: Yes, I did.                 20 think they were completely accurate. I felt like
    21 BY MR. PIFKO:                                      21 we were doing the best we could to monitor the
    22      Q. So even though the Department of           22 distribution of these drugs.
    23 Justice said that you were distributing            23       Q. Do you have any factual basis to
    24 substances to customers when you knew or should    24 challenge that Department of Justice's conclusion


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     1   there?                                             1 BY MR. PIFKO:
     2           MS. McCLURE: Objection to form,            2      Q. Are you aware of any other
     3      asked and answered.                             3 actions where the DEA was investigating the
     4           THE WITNESS: Not today I don't,            4 company for potential violations of diversion
     5      no.                                             5 control laws?
     6 BY MR. PIFKO:                                        6      A. I -- actions -- I mean, I can't
     7      Q. Do you know what happened after              7 recall specifics.
     8 you received -- the company received this letter?    8      Q. How about generally?
     9           MS. McCLURE: Form.                         9      A. There's always investigations.
    10           THE WITNESS: What do you mean,            10 They inspect our facilities frequently, and there
    11      what happened?                                 11 could -- there's always -- I shouldn't say
    12 BY MR. PIFKO:                                       12 always, but often there's minor violations that
    13      Q. The Orlando facility did get its            13 are part of their investigation, part of the
    14 registration suspended. Correct?                    14 Controlled Substances Act and the regulations.
    15      A. Yes, that's correct.                        15      Q. Do you recall any criminal
    16      Q. And you had to halt shipments of            16 investigations that were occurring with respect
    17 product for some time period from that facility.    17 to AmerisourceBergen's diversion control
    18 Correct?                                            18 practices?
    19           MS. McCLURE: Objection, form.
    20           THE WITNESS: Ask the question
    21      again, please, I'm sorry.
    22 BY MR. PIFKO:
    23      Q. You had to halt shipments of
    24 product from that facility for some period of

                                                Page 47                                                Page 49
     1 time after that. Correct?
     2            MS. McCLURE: Objection, form.
     3            THE WITNESS: We had to halt
     4       shipments of controlled substances from
     5       the facility.
     6 BY MR. PIFKO:
     7       Q. Do you know how long that was in
     8 place, where you weren't allowed to ship
     9 controlled substances from that facility?
    10       A. I couldn't tell you exactly, but
    11 it was about three months.
    12       Q. Some years later, the Houston
    13 facility also almost lost its registration.
    14 Correct?
    15            MS. McCLURE: Objection to form.
    16            THE WITNESS: I don't know what
    17       you're talking about.
    18 BY MR. PIFKO:
    19       Q. You don't have any recollection
    20 of the DEA almost suspending the registration of
    21 the Houston facility?
    22            MS. McCLURE: Objection to form.
    23            THE WITNESS: I have no
    24       knowledge. No knowledge of that.                                                            .

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                                                          1            MS. McCLURE: Objection, asked
                                                          2       and answered.
                                                          3            THE WITNESS: Would that be prior
                                                          4       to the suspension?
                                                          5 BY MR. PIFKO:
                                                          6       Q. Yes.
                                                          7       A. Is that what you're asking?
                                                          8       Q. Yes.
                                                          9       A. As I recall, it would be the same
                                                         10 as any of the other facilities.
                                                         11       Q. Okay. So at the time this letter
                                                         12 was sent, AmerisourceBergen's diversion control
                                                         13 systems were the same at all of its distribution
                                                         14 centers. Correct?
                                                         15            MS. McCLURE: Objection to form.
                                                         16            THE WITNESS: That's what I
                                                         17       recall, yes.
                                                         18 BY MR. PIFKO:
                                                         19       Q. So anything occurring at this
                                                         20 Orlando facility could be occurring at any other
                                                         21 distribution center. Correct?
                                                         22            MS. McCLURE: Objection, form.
                                                         23            THE WITNESS: I disagree.
                                                         24 BY MR. PIFKO:

                                               Page 55                                              Page 57
                                                          1      Q. What do you disagree?
                                                          2      A. Because they're a different
                                                         3 customer base, different region of the country.
                                                         4       Q. But with respect to
     5            MR. PIFKO: Let's take a short          5 AmerisourceBergen's procedures, the same things
     6       break.                                      6 that are occurring at this facility are the same
     7            THE VIDEOGRAPHER: Going off the 7 thing that are occurring at other facilities.
     8       record at 11:50 a.m.                        8 Correct?
     9                - - -                              9            MS. McCLURE: Objection to form.
    10            (A recess was taken from              10            THE WITNESS: As far as our
    11       11:50 a.m. to 12:07 p.m.)                  11       procedures and how -- our policies and
    12                - - -                             12       procedures, yes, they're -- they would be
    13            THE VIDEOGRAPHER: Back on the         13       the same for all of the distribution
    14       record at 12:07 p.m.                       14       centers.
    15 BY MR. PIFKO:                                    15 BY MR. PIFKO:
    16       Q. I want to bring your attention
    17 back to Exhibit 1.
    18       A. Okay.
    19       Q. All right. So I just want to
    20 confirm, as we discussed before we went on the
    21 break, there was nothing different about the
    22 procedures at the Orlando facility as opposed to
    23 any other facility, any other distribution
    24 facility ran by AmerisourceBergen. Correct?


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                                                              1       MS. McCLURE: Objection.
                                                          2 BY MR. PIFKO:
                                                          3      Q. -- at that time?
                                                          4           MS. McCLURE: Asked and answered.
                                                          5           THE WITNESS: As I recall, it was
                                                          6      a system that generated a report that
                                                          7      indicated any orders that were above
                                                          8      certain parameters looking back over that
                                                          9      customer's average purchases. And they
                                                         10      would be flagged on that report if they
                                                         11      exceeded that average or that parameter.
                                                         12 BY MR. PIFKO:
                                                         13      Q. So you agree here that the DEA is
                                                         14 saying in this letter that AmerisourceBergen
                                                         15 nevertheless distributed hydrocodone to
    16 BY MR. PIFKO:                                     16 pharmacies even though the amounts exceeded what
    17       Q. Let's go to page 2 of Exhibit 1.         17 an average pharmacy would order for legitimate
    18       A. Okay.                                    18 needs.
    19       Q. So looking at paragraph 4, it            19           Do you see that?
    20 says, the bottom of paragraph 4, "Respondent      20           MS. McCLURE: Objection, form.
    21 distributed hydrocodone under the following       21           THE WITNESS: You're on the
    22 circumstances that should have alerted Respondent 22      subparagraph A?
    23 that the pharmacies were diverting hydrocodone." 23 BY MR. PIFKO:
    24           Do you see that?                        24      Q. Yes.

                                                    Page 59                                             Page 61
     1      A.   Yes, I do.                                   1   A. I agree that that's what DEA is
     2      Q.   Did I read that correctly?               2 saying, yes.
     3      A.   Yes, you did.                            3       Q. So did AmerisourceBergen at this
     4      Q.   Then it's got subparts A through         4 time not have a way of monitoring what a
     5 D.                                                 5 customer's volume was with -- as compared to what
     6            Do you see those?                       6 an average pharmacy would need to meet legitimate
     7       A. Yes, I do.                                7 needs of its customers?
     8       Q. Part A says, "Respondent                  8           MS. McCLURE: Objection, form.
     9 distributed hydrocodone to each of the named       9           THE WITNESS: I don't recall the
    10 pharmacies, and others, in amounts that far       10       specific algorithms of that program.
    11 exceeded what an average pharmacy orders to meet 11 BY MR. PIFKO:
    12 the legitimate needs of its customers."           12       Q. You believe there was a program
    13            Do you see that?                       13 that had algorithms?
    14       A. Yes, I do.                               14       A. I'm sorry?
    15       Q. Did I read that correctly?               15       Q. You believe there was a program
    16       A. Yes, you did.                            16 that had some algorithm?
    17       Q. "Respondent knew that orders of          17       A. I don't know if algorithm is a
    18 an unusual size were 'suspicious' as that term is 18 correct word, but it had a formula built into the
    19 used in 21 C.F.R. section 1301.74(b)."            19 system, a certain percentage. And it basically
    20            Did I read that correctly?             20 looked at that customer's purchases over, I
    21       A. Yes, you did.                            21 believe it was -- I believe it was a rolling
    22       Q. What was AmerisourceBergen's             22 three-month average. And if it exceeded that by
    23 system that was in place to monitor the amounts   23 a certain amount, then it would be flagged on
    24 that its customers ordered --                     24 this report as a possible excessive order.


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     1       Q. But according to DEA, you failed              1            MS. McCLURE: Objection, asked
     2 to alert DEA and you failed to prevent orders of       2       and answered.
     3 unusual size from being shipped to customers.          3            THE WITNESS: I see that in
     4 Correct?                                               4       general, yes.
     5            MS. McCLURE: Objection to form.             5 BY MR. PIFKO:
     6            THE WITNESS: Can you repeat that            6       Q. And if you go on the first page
     7       again? I'm sorry.                                7 here, it says that, in paragraph 1, "Respondent
     8 BY MR. PIFKO:                                          8 distributed over 3.8 million dosage units of
     9       Q. Yes. So in A here it's saying                 9 combination hydrocodone products to customers
    10 that you nevertheless shipped orders beyond what      10 that it knew or should have known were diverting
    11 an average pharmacy needed?                           11 the hydrocodone into other than legitimate
    12            MS. McCLURE: Objection, form.              12 medical, scientific and industrial channels."
    13            THE WITNESS: I don't know what             13            Do you see that?
    14       an average pharmacy needed.                     14            MS. McCLURE: Objection, form.
    15 BY MR. PIFKO:                                         15            THE WITNESS: I see that.
    16       Q. Okay.                                        16 BY MR. PIFKO:
    17       A. So...                                        17       Q. And so my question to you is,
    18       Q. So at the time AmerisourceBergen             18 there's a failure of AmerisourceBergen to catch
    19 had no way of evaluating what an average pharmacy     19 this volumes that the Department of Justice
    20 needed; is that correct?                              20 identified. Correct?
    21            MS. McCLURE: Objection, form.              21            MS. McCLURE: Objection, form.
    22            THE WITNESS: We only had the               22            THE WITNESS: In their opinion,
    23       ability to know what our customers were         23       yes.
    24       purchasing.                                     24 BY MR. PIFKO:

                                                  Page 63                                                Page 65
     1 BY MR. PIFKO:                                          1       Q. What I'm trying to understand is
     2       Q. Did you take any steps to know                2 where -- what occurred to result in that failure?
     3 what the average pharmacy within your own              3             MS. McCLURE: Objection to form.
     4 customers would need to fill legitimate needs of       4             THE WITNESS: I didn't say there
     5 its customers?                                         5       was a failure.
     6            MS. McCLURE: Objection, form.               6 BY MR. PIFKO:
     7            THE WITNESS: I don't recall.                7       Q. Did you not know that those
     8 BY MR. PIFKO:                                          8 volumes of hydrocodone products were being
     9       Q. Would you agree that there was a              9 shipped to AmerisourceBergen customers?
    10 failure of AmerisourceBergen's system that led to     10       A. I didn't know personally, no.
    11 the receipt of this order to show cause?              11       Q. Was the company doing anything to
    12            MS. McCLURE: Objection, form.              12 monitor the potentially significant volumes of
    13            THE WITNESS: No, I don't agree             13 hydrocodone products that were being shipped to
    14       that there was a failure to our system.         14 its customers?
    15 BY MR. PIFKO:                                         15             MS. McCLURE: Objection, form.
    16       Q. Going to page 3 here, the top                16             THE WITNESS: We had a suspicious
    17 paragraph. We looked at this earlier.                 17       order monitoring program.
    18       A. Uh-huh.                                      18 BY MR. PIFKO:
    19       Q. It said that AmerisourceBergen               19       Q. Okay. So did the system just not
    20 shipped over 5.2 million dosage units of              20 catch these orders?
    21 hydrocodone to pharmacies that had certain            21             MS. McCLURE: Objection, form.
    22 characteristics that were discussed in your           22             THE WITNESS: I couldn't tell you
    23 August 10, 2005 meeting.                              23       that.
    24            Do you see that?                           24 BY MR. PIFKO:


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     1      Q. Do you know if the system caught                1           THE WITNESS: Again, I don't know
     2 these orders and then they were simply released?        2      what an average pharmacy's purchases
     3           MS. McCLURE: Objection, form.                 3      were.
     4           THE WITNESS: If these orders                  4 BY MR. PIFKO:
     5      were suspicious, they would have been on           5      Q. Okay. So AmerisourceBergen had
     6      that report and they would have been               6 no steps to monitor what an average pharmacy's
     7      reported to DEA as suspicious.                     7 needs were at that time.
     8 BY MR. PIFKO:                                           8           MS. McCLURE: Objection.
     9      Q. The DEA here is saying these                    9 BY MR. PIFKO:
    10 orders are suspicious.                                 10      Q. Is that correct?
    11           Do you agree? Let's look at page             11      A. That's --
    12 2, paragraph 4a.                                       12           MS. McCLURE: Objection, form,
    13           MS. McCLURE: Objection.                      13      asked and answered and misstates the
    14 BY MR. PIFKO:                                          14      witness's prior testimony.
    15      Q. "Respondent knew that orders of                15           You may answer.
    16 an unusual size were 'suspicious' as that term is      16           THE WITNESS: I disagree. We
    17 used in 21 C.F.R. Section 1301.74(b)."                 17      have a suspicious order monitoring
    18           MS. McCLURE: What's the                      18      program.
    19      question?                                         19 BY MR. PIFKO:
    20           THE WITNESS: Yeah.                           20      Q. Okay. But you just said, I don't
    21 BY MR. PIFKO:                                          21 know what an average pharmacy would need.
    22      Q. My question to you was, the DEA                22      A. That's correct.
    23 was saying these orders were suspicious.               23      Q. Did AmerisourceBergen have any
    24 Correct?                                               24 policies or procedures in place to evaluate what

                                                    Page 67                                               Page 69
     1           MS. McCLURE: Objection.                       1 an average pharmacy might need?
     2       Objection, form.                                  2           MS. McCLURE: Objection, form.
     3           THE WITNESS: I don't see where                3           THE WITNESS: We have a
     4       DEA says those orders were suspicious.            4       suspicious order monitoring program to
     5 BY MR. PIFKO:                                           5       monitor our own customers. We don't
     6       Q. Well, it's saying each of these                6       know -- we didn't know what an average
     7 pharmacies and others where you distributed             7       pharmacy purchased, what the quantities
     8 hydrocodone products to them in amounts that far        8       were for an average pharmacy.
     9 exceeded what an average pharmacy orders to meet        9 BY MR. PIFKO:
    10 the legitimate needs of its customers.                 10       Q. So at that time, there was
    11           Do you see that?                             11 nothing in AmerisourceBergen's system to evaluate
    12       A. Yes, I see that.                              12 what an average pharmacy might need for its
    13       Q. Okay. And it's talking about                  13 legitimate needs for its customers. Correct?
    14 orders that AmerisourceBergen shipped to its           14           MS. McCLURE: Objection, form.
    15 customers. Correct?                                    15           THE WITNESS: Not other than our
    16       A. Yes, yes, that's correct.                     16       own customers. That's the only data we
    17       Q. And then it says, you knew that               17       have or that we had at that time.
    18 orders of an unusual size were suspicious.             18 BY MR. PIFKO:
    19           Do you see that?                             19       Q. But you were saying, under
    20       A. I see that.                                   20 AmerisourceBergen's systems in place at that
    21       Q. Did you not know that the orders              21 time, it only monitored the average of each
    22 that exceeded what an average pharmacy would need      22 customer against its own orders at that time.
    23 were suspicious?                                       23 Correct?
    24           MS. McCLURE: Objection to form.              24           MS. McCLURE: Objection, form.

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     1            THE WITNESS: That's what I                1       Q. Okay. Did you have any system in
     2      recall, yes.                                    2 place to monitor its purchasing of Schedule II or
     3 BY MR. PIFKO:                                        3 III controlled substances as it compared to other
     4      Q. You weren't undertaking any                  4 types of substances?
     5 effort to compare a pharmacy's orders compared to    5       A. Not that I know of.
     6 another pharmacy's orders at that time. Correct?     6       Q. Let's go to paragraph 4c.
     7            MS. McCLURE: Objection to form.           7           It says, "Respondent distributed
     8            THE WITNESS: Not that I know of.          8 hydrocodone to each of the named pharmacies, and
     9 BY MR. PIFKO:                                        9 others, even though the pharmacies ordered
    10      Q. Let's go to paragraph 4b.                   10 hydrocodone much more frequently than
    11      A. Okay.                                       11 Respondent's other pharmacy customers."
    12      Q. It says, "Respondent distributed            12           Do you see that?
    13 hydrocodone to each of the named pharmacies, and    13       A. Yes, I do.
    14 others, even though the pharmacies ordered small    14       Q. Did I read that correctly?
    15 amounts of other drug products relative to the      15       A. Yes, you did.
    16 pharmacies' hydrocodone purchases from              16       Q. It says, "Respondent knew that
    17 Respondent."                                        17 orders of unusual frequency were 'suspicious' as
    18            Do you see that?                         18 that term is used in 21 C.F.R. Section
    19      A. Yes, I do.                                  19 1301.74(b)."
    20      Q. "Respondent knew orders for large           20           Did I read that correct?
    21 amounts of hydrocodone in combination with small    21       A. That's correct.
    22 amounts of other drug products deviated from the    22       Q. Did AmerisourceBergen have any
    23 normal pattern of orders placed by pharmacies."     23 system in place at that time to evaluate the
    24            Do you see that?                         24 frequency of orders of controlled substances

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     1      A. I see that.                                  1 placed by its customers?
     2      Q. Did you know, as the head of                 2            MS. McCLURE: Objection to form.
     3 regulatory and compliance issues for diversion       3            THE WITNESS: Not that I know of.
     4 control at that time, that an order for large        4 BY MR. PIFKO:
     5 amounts of hydrocodone as compared to other drug     5       Q. You said something earlier
     6 products was something that deviated from the        6 about -- that after the 2005 meeting with DEA
     7 normal pattern of ordering for a pharmacy?           7 that's referenced in here --
     8           MS. McCLURE: Objection, form.              8       A. Uh-huh.
     9           THE WITNESS: Repeat the                    9       Q. And let's be specific, the one
    10      question, please?                              10 that's referenced in paragraph 5 of Exhibit 1.
    11 BY MR. PIFKO:                                       11       A. Okay.
    12      Q. Did you know, as the head of                12       Q. You said that after that meeting,
    13 regulatory and compliance issues for diversion      13 you initiated some sort of due diligence process.
    14 control issues at that time, that an order for      14 Correct?
    15 large amounts of hydrocodone, as compared to        15            MS. McCLURE: Objection, form.
    16 other drug products, was something that deviated    16            THE WITNESS: That's correct.
    17 from the normal pattern of ordering for a           17 BY MR. PIFKO:
    18 pharmacy?                                           18       Q. Prior to that time, did you have
    19           MS. McCLURE: Objection to form.           19 no due diligence process in place?
    20           THE WITNESS: We were -- we                20            MS. McCLURE: Objection to form.
    21      monitored the purchases of that customer,      21            THE WITNESS: Yes, we had due
    22      compared to their previous purchases, is       22       diligence. Yes.
    23      the way our system worked.                     23 BY MR. PIFKO:
    24 BY MR. PIFKO:                                       24       Q. What due diligence process was in

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     1 place before that meeting?                                1            THE WITNESS: No, I don't.
     2      A. The same due diligence that we                    2 BY MR. PIFKO:
     3 had had in place for years.                               3       Q. Did you do anything other than
     4      Q. And what was it --                                4 report these orders to -- some of the orders that
     5      A. Do you want me to describe it?                    5 you discussed to DEA to prevent diversion?
     6      Q. Yes.                                              6            MS. McCLURE: Objection, form.
     7      A. Our responsibility was to make a                  7            THE WITNESS: Yes.
     8 good faith effort to make sure that that                  8 BY MR. PIFKO:
     9 customer's properly licensed with the state and           9       Q. What did you do?
    10 registered with DEA.                                     10       A. We cut off -- I believe we cut
    11      Q. Anything else?                                   11 off some of these pharmacies, if not all of them.
    12      A. No.                                              12 I can't recall exactly which ones.
    13      Q. So at that time of the meeting in                13       Q. Do you know how many you cut off?
    14 2005, the only due diligence that was in place           14       A. Couldn't -- don't recall.
    15 was a process to make sure that the customer was         15       Q. Do you know when you cut them
    16 properly licensed; is that correct?                      16 off?
    17           MS. McCLURE: Objection, form.                  17       A. Either prior to the suspension or
    18           THE WITNESS: Properly licensed                 18 after.
    19      by the state and registered with DEA.               19       Q. So you cut some of them off maybe
    20      That was our requirement under the                  20 after the suspension order?
    21      federal regulations.                                21            MS. McCLURE: Objection, form.
    22 BY MR. PIFKO:                                            22            THE WITNESS: Well, it would have
    23      Q. How is it that AmerisourceBergen                 23       been prior, because we weren't able to
    24 missed these millions of orders in its suspicious        24       ship after -- after the suspension order.
                                                      Page 75                                               Page 77
     1 order monitoring system, as discussed here in             1       So it would have been prior to that.
     2 Exhibit 1?                                                2 BY MR. PIFKO:
     3            MS. McCLURE: Objection, form,                  3       Q. Would that be contained in any
     4       foundation.                                         4 document?
     5            THE WITNESS: I'm not sure we                   5            MS. McCLURE: Objection, form.
     6       missed them. I believe they were                    6            THE WITNESS: I'm sure -- no, I
     7       reported to DEA as suspicious orders.               7       don't want to speculate. I don't know.
     8 BY MR. PIFKO:                                             8 BY MR. PIFKO:
     9       Q. It's your testimony that these                   9       Q. Based on your -- you've been with
    10 orders were picked up by the suspicious order            10 the company for over 30 years. Right? Longer?
    11 monitoring system and reported to DEA?                   11       A. Longer.
    12       A. I'm not saying every one. I'm                   12       Q. 40 years?
    13 just -- I know that, from what I recall, some of         13       A. Yes.
    14 these customers that were mentioned in here, as I        14       Q. Based on your knowledge of the
    15 recall, had orders that were reported to DEA as          15 company's practices and procedures, if you cut
    16 suspicious.                                              16 off a customer, where would that be documented?
    17       Q. Do you have any sense of the                    17            MS. McCLURE: Objection, form.
    18 percentage of the orders, if any, that were              18            THE WITNESS: It depends on what
    19 caught?                                                  19       system we're using to document things at
    20       A. No, I do not.                                   20       a specific time. We've changed
    21       Q. If you reported these orders to                 21       documentation processes over the years
    22 DEA, do you have any understanding as to why DEA         22       many times.
    23 issued this order to show cause?                         23 BY MR. PIFKO:
    24            MS. McCLURE: Objection, form.                 24       Q. At the time of this order to show

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     1   cause.                                            1            THE WITNESS: I can't.
     2           MS. McCLURE: Objection, form.             2 BY MR. PIFKO:
     3           THE WITNESS: Again, I'm not sure          3       Q. You're unable to do that?
     4      where it would have been documented.           4       A. Login to, which system are you
     5 BY MR. PIFKO:                                       5 talking about? Our business system?
     6      Q. You don't know if it would have             6       Q. AmerisourceBergen's diversion
     7 been documented at all?                             7 control systems.
     8           MS. McCLURE: Objection, form,             8            MS. McCLURE: Objection, form.
     9      misstates the witness's prior testimony.       9            THE WITNESS: No. I don't login
    10           THE WITNESS: I don't recall              10       to that.
    11      exactly.                                      11 BY MR. PIFKO:
    12 BY MR. PIFKO:                                      12       Q. Do members of your team login to
    13      Q. How about generally?                       13 that?
    14      A. Generally --                               14            MS. McCLURE: Objection, form.
    15           MS. McCLURE: Same objection.             15            THE WITNESS: Not on my team, no.
    16           THE WITNESS: Generally, I would          16 BY MR. PIFKO:
    17      say that they were documented somewhere.      17       Q. Do you know who Eric Cherveny is?
    18 BY MR. PIFKO:                                      18       A. Yes, I do.
    19      Q. Did you review anything in                 19       Q. Is he someone that was under your
    20 preparing for your deposition that would have      20 team at any point?
    21 discussed the company's shipments or orders        21            MS. McCLURE: Objection, form.
    22 from -- with respect to the pharmacies in          22            THE WITNESS: He was under my
    23 Exhibit 1?                                         23       team back in, you know, I can't
    24           MS. McCLURE: Objection, form.            24       remember -- in the 2005 to 2010, sometime
                                                Page 79                                              Page 81
     1           THE WITNESS: No, no.                     1      in that area.
     2 BY MR. PIFKO:                                      2 BY MR. PIFKO:
     3      Q. If you were going to do that, how          3      Q. If he testified that you could go
     4 would you do that?                                 4 back and look into AmerisourceBergen's systems
     5           MS. McCLURE: Objection, form.            5 and get ordering information and information
     6           THE WITNESS: How would I do              6 about a customer's history going back at least as
     7      what?                                         7 early as 2000, would you have any reason to
     8 BY MR. PIFKO:                                      8 disagree with him?
     9      Q. If you were going to research the          9           MS. McCLURE: Objection, form.
    10 order history --                                  10           THE WITNESS: I'm not sure how
    11      A. Uh-huh.                                   11      you would, but maybe he can.
    12      Q. -- and shipments made to any of           12 BY MR. PIFKO:
    13 the customers discussed in Exhibit 1, how would   13      Q. With respect to these orders, you
    14 you go about doing that?                          14 would have reported them after you shipped them.
    15           MS. McCLURE: Objection, form.           15 Correct?
    16           THE WITNESS: I would go back to         16           MS. McCLURE: Objection, form.
    17      find out whatever system we were using to    17           THE WITNESS: Which orders are
    18      document and look through that and do a      18      you talking about specifically?
    19      search.                                      19 BY MR. PIFKO:
    20 BY MR. PIFKO:                                     20      Q. The 5.2 million orders of
    21      Q. It's true that today you can log          21 hydrocodone products or dosage units discussed in
    22 on to AmerisourceBergen's system and look back at 22 Exhibit 1.
    23 customer histories and correspondence. Correct?   23           MS. McCLURE: Objection to form.
    24           MS. McCLURE: Objection, form.           24           THE WITNESS: At that time, they

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     1      would have been reported after.               1 decision would be made about that
     2 BY MR. PIFKO:                                 2      customer based on that due diligence.
     3      Q. None of these orders would have       3 BY MR. PIFKO:
     4 been reported prior to shipment. Correct?     4      Q. Right. But my point is, there's
     5      A. That's correct.                       5 no specific due diligence that you conduct with
     6      Q. And all of these orders would         6 respect to an order?
     7 have been shipped without any due diligence.  7      A. To each order?
     8 Correct?                                      8           MS. McCLURE: Objection to form.
     9           MS. McCLURE: Objection, form.       9 BY MR. PIFKO:
    10           THE WITNESS: That's incorrect.     10      Q. Right.
    11 BY MR. PIFKO:                                11      A. Not -- not for each specific
    12      Q. Other than checking their            12 order, no.
    13 registration?                                13      Q. Okay. So the only due diligence
    14           MS. McCLURE: Objection, form.      14 that would  have been conducted would have been a
    15           THE WITNESS: Checking the          15 collecting of a form and reviewing that form and
    16      registration, the licensing and all the 16 deciding as a general matter whether to do
    17      other due diligence that we do on       17 business with that customer. Correct?
    18      customers, whether it's credit, their   18           MS. McCLURE: Objection, form.
    19      ability to pay and whatever else that   19           THE WITNESS: That's -- that's
    20      our -- there's different -- other parts 20      incorrect.  That's not correct.
    21      of our due diligence that are done. But 21 BY MR. PIFKO:
    22      as far as controlled substances, it was 22      Q. What's incorrect about my
    23      the licensing.                          23 statement?
    24 BY MR. PIFKO:                                24      A. Well, the due diligence is
                                               Page 83                                               Page 85
     1      Q. Okay. So the orders of the                 1 just -- that due diligence questionnaire is just
     2 5.2 million dosage units that are discussed in     2 part of the process. So any -- an order that
     3 Exhibit 1, the only due diligence with respect to  3 would have shown up on that suspicious order
     4 diversion control that would have been performed   4 report would have prompted a due diligence
     5 on those would have been checking the licensing? 5 investigation --
     6           MS. McCLURE: Objection, form,            6            MS. McCLURE: Objection. Sorry.
     7      misstates the witness's prior testimony.      7            THE WITNESS: -- and a site
     8           THE WITNESS: Well, let me take           8       visit.
     9      you back, because actually, since 2005,       9 BY MR. PIFKO:
    10      after that meeting with DEA, we did put      10       Q. So I'm getting mixed statements
    11      the due diligence process in place with      11 from you.
    12      questionnaires. And probably I'm sure a      12            You said that there was no
    13      lot of these pharmacies had been -- had a    13 specific due diligence with respect to an order;
    14      due diligence investigation, had a           14 is that correct?
    15      questionnaire and a site visit.              15       A. Well, that due diligence could
    16 BY MR. PIFKO:                                     16 have been prompted by an order.
    17      Q. But that's something you                  17       Q. Explain that to me.
    18 conducted -- it's static.                         18       A. Okay. So when we -- when we
    19           You conduct the -- you collect          19 started doing the questionnaires, the basis for
    20 the questionnaire, and it sits in a file.         20 doing those questionnaires would have been that
    21 Correct?                                          21 possible excessive and suspicious order report,
    22           MS. McCLURE: Objection, form.           22 and that's when that would prompt that
    23           THE WITNESS: No. It gets                23 questionnaire. So it is related to -- it would
    24      reviewed. It would be reviewed, and a        24 have been related to an order.


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     1       Q. How frequently --                          1   Q. Every time?
     2       A. Or a customer's history.                2      A. I'm assuming it would, yes.
     3       Q. How frequently would you collect        3      Q. So every time AmerisourceBergen
     4 this form from a customer?                       4 had a suspicious order at the time of the
     5           MS. McCLURE: Objection, form.          5 issuance of this order to show cause and before,
     6           THE WITNESS: I don't know.             6 every single time, for every customer, it would
     7 BY MR. PIFKO:                                    7 have triggered a due diligence investigation?
     8       Q. For every single order that they        8      A. I don't know that. I don't know
     9 would place that would be suspicious, you would 9 that for sure.
    10 collect another form?                           10      Q. You don't know that?
    11           MS. McCLURE: Objection, form.         11      A. I don't know that.
    12           THE WITNESS: I don't know.            12      Q. Do you have any specific
    13 BY MR. PIFKO:                                   13 understanding of how AmerisourceBergen's due
    14       Q. Was it -- well, you were in            14 diligence process worked --
    15 charge of diversion control practices at the    15          MS. McCLURE: Objection to form.
    16 time. Correct?                                  16 BY MR. PIFKO:
    17           MS. McCLURE: Objection, form.         17      Q. -- at that time and before?
    18           THE WITNESS: I oversaw that           18      A. I've already answered that.
    19       area. That's part of regulatory at the    19      Q. Well, I'm trying to understand
    20       time, yes.                                20 what would trigger a due diligence investigation.
    21 BY MR. PIFKO:                                   21 You don't seem to know.
    22       Q. And you don't know how the due         22          MS. McCLURE: Objection,
    23 diligence process worked?                       23      misstates the witness's testimony, asked
    24           MS. McCLURE: Objection, form,         24      and answered, form.
                                               Page 87                                                Page 89
     1      asked and answered.                            1           THE WITNESS: As I recall, a due
     2           THE WITNESS: Yes. I already               2      diligence investigation would have been
     3      explained that to you.                         3      prompted by customers showing up on that
     4 BY MR. PIFKO:                                       4      suspicious order report, that possible
     5      Q. Well, I'm asking you questions,             5      excessive and suspicious orders I think
     6 and you're saying you don't know.                   6      is what it's called. That would prompt
     7      A. Well, I don't know if it was done           7      that due diligence to be done.
     8 on every single order.                              8           Would it be done every single
     9      Q. Okay.                                       9      time an order would hit that? I don't
    10      A. I couldn't tell you. It may have           10      know. I don't recall.
    11 been.                                              11 BY MR. PIFKO:
    12      Q. But that's something that you              12      Q. Would you have investigated that
    13 don't seem to know about the system. Agree?        13 order specifically, or would you just look at the
    14           MS. McCLURE: Objection, form.            14 customer?
    15           THE WITNESS: Ask the question            15           MS. McCLURE: Objection to form.
    16      again? I'm sorry.                             16           THE WITNESS: We mainly would
    17 BY MR. PIFKO:                                      17      look at the customer.
    18      Q. Well, I'm trying to understand if          18 BY MR. PIFKO:
    19 AmerisourceBergen had an order that was            19      Q. And what would the nature of your
    20 suspicious, whether that order triggered a         20 customer inquiry be?
    21 specific due diligence inspection of the order.    21           MS. McCLURE: Objection, form.
    22      A. If it -- if that -- if that order          22           THE WITNESS: The nature would be
    23 showed up on a suspicious order report, it would   23      a site visit and completion of a
    24 have triggered a due diligence investigation.      24      questionnaire.

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                                                                             Review
                                                    Page 90                                                Page 92
     1 BY MR. PIFKO:                                            1   Do you see that?
     2      Q. So did this prompt any changes to        2       A. Yes, I do.
     3 AmerisourceBergen's suspicious order monitoring 3        Q. You are talking about attending
     4 system?                                          4 an HDMA conference. Agreed?
     5           MS. McCLURE: Objection, form.          5       A. Agree.
     6           THE WITNESS: Did what prompt?          6       Q. It says, "The HDMA DMC agenda."
     7 BY MR. PIFKO:                                    7           Do you see that?
     8      Q. This order to show cause.                8       A. Yes, I do.
     9      A. Oh, yes, yes.                            9       Q. What's the HDMA DMC?
    10      Q. That resulted in a settlement           10       A. HDMA DMA is a distribution
    11 agreement with DEA. Correct?                    11 management conference. It's an annual conference
    12           MS. McCLURE: Objection, asked         12 that HDMA conducts.
    13      and answered.                              13       Q. The subject of this email is
    14           THE WITNESS: Yes.                     14 "'Big Four' DEA Strategy Discussion 2."
    15 BY MR. PIFKO:                                   15           Do you see that?
    16      Q. What were the nature of the             16       A. Yes.
    17 changes that you instituted after this?         17       Q. So you're reaching out to, at
    18           MS. McCLURE: Objection, form.         18 this time, people from McKesson, Cardinal Health
    19      And objection, asked and answered.         19 and HD Smith to have a big four DEA strategy
    20           THE WITNESS: We enhanced our          20 discussion. Correct?
    21      suspicious order monitoring program at     21           MS. McCLURE: Objection, form.
    22      the direction of DEA. They wanted us to    22           THE WITNESS: It's what it says,
    23      develop a system that would stop and hold  23       yeah, yeah.
    24      an order and determine whether it was      24 BY MR. PIFKO:

                                                     Page 91                                               Page 93
     1       suspicious before shipping it.                     1       Q. Why were you reaching out to
     2                - - -                                     2 representatives from this company -- these
     3           (Deposition Exhibit No. Mays                   3 companies to have a DEA strategy discussion at
     4       V2-2, Email chain, top one dated 3 Mar             4 this time?
     5       2013, Bates stamped ABDCMDL00378483                5       A. I think we would typically get
     6       through ABDCMDL00378488, was marked for            6 together sometime around those -- those
     7       identification.)                                   7 conferences, because it was about the only time
     8                - - -                                     8 of the year we had face-to-face time. And we
     9 BY MR. PIFKO:                                            9 would just talk about common concerns and issues
    10       Q. Handing you what's marked as Mays              10 that we have and do some benchmarking, share
    11 Volume 2, Exhibit 2.                                    11 ideas about how we can improve our programs.
    12           For the record, it's an email                 12       Q. When you say programs and
    13 thread labeled ABDCMDL00378483 through 88.              13 concerns, you're talking about specifically in
    14           Let me know when you're done,                 14 the diversion control area. Correct?
    15 take a moment to review that.                           15       A. No. It could be anything
    16       A. (Reviewing document.)                          16 regulatory, not just diversion. It could be
    17           Okay.                                         17 things about, you know, sometimes we would talk
    18       Q. Right. If you go to the second                 18 about DEA inspections and how they -- how they're
    19 to last page here.                                      19 handled, just to get some -- help each other out.
    20       A. Okay.                                          20       Q. Okay. But what I'm trying to ask
    21       Q. It's the start of -- well, it's                21 is, when you were talking about concerns and
    22 an email -- that part of the header is on the           22 benchmarking and programs, you're talking about
    23 prior page, but it's an email from you to people        23 programs that relate to DEA compliance. Correct?
    24 at Cardinal Health, McKesson and HD Smith.              24       A. I think for the most part. It's

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     1 basically anything regulatory that we could talk      1       A. No, I don't believe it was.
     2 about.                                                2       Q. What was your recollection that
     3       Q. And these other people at                    3 brought you all to Chicago?
     4 McKesson, Cardinal Health and HD Smith, they all      4       A. I think it had been after, you
     5 had similar responsibilities for regulatory and       5 know, the companies -- you know, we had had
     6 compliance issues like you did?                       6 action taken against us and I think Cardinal and
     7            MS. McCLURE: Objection to form.            7 I'm not sure if McKesson had at the time. And I
     8            THE WITNESS: For the most part             8 think the idea was just to get together and see
     9       as I recall, yes.                               9 how we could do things better.
    10 BY MR. PIFKO:                                        10       Q. You think that would have been in
    11       Q. So this was -- this specific                11 2007 or '8?
    12 subject line says, "Strategy Discussion 2."          12            MS. McCLURE: Objection.
    13            Do you see that?                          13            THE WITNESS: I don't think so.
    14       A. Yeah.                                       14       I think it might have been after that. I
    15       Q. So this was -- and as you just              15       don't know.
    16 testified, this was something that you regularly     16 BY MR. PIFKO:
    17 did in connection with HDMA meetings that            17       Q. What action had been taken
    18 occurred annually?                                   18 against you that you're recalling?
    19            MS. McCLURE: Objection to form.           19       A. The suspension that we were
    20            THE WITNESS: Not always. I                20 previously talking about.
    21       think we'd met before. Might not have          21       Q. And you recall that Cardinal had
    22       been at an HDA meeting.                        22 had some action taken against it around the time
    23 BY MR. PIFKO:                                        23 of this meeting as well?
    24       Q. But you had, with some degree of            24       A. Yeah.
                                                  Page 95                                                   Page 97
     1 regularity, meetings with these people to discuss     1   Q.     What  specifically  was the  nature
     2 regulatory and compliance issues?                  2 of your understanding about the action taken
     3            MS. McCLURE: Objection, form.           3 against Cardinal at that time?
     4            THE WITNESS: I wouldn't say             4      A. The one -- the meeting in
     5       regularity. We only met like that maybe      5 Chicago? That was when -- because I remember the
     6       two or three times.                          6 guy was at that meeting, Michael Mone from
     7 BY MR. PIFKO:                                      7 Cardinal. And he got called during the meeting,
     8       Q. When was the first time you had           8 and he had to leave. And I think it was when
     9 such a meeting like that?                          9 they had their -- one of their registrations
    10       A. I can't remember if it was before        10 suspended or something and he had to leave. We
    11 this one or after this one. We met in Chicago at  11 didn't know what it was about, but he had to just
    12 the airport one time. And I think Cardinal        12 leave all of a sudden.
    13 hosted that meeting.                              13      Q. Okay. Do you have a rough idea
    14       Q. Do you have a rough idea about           14 on or around the time that was?
    15 when that was?                                    15      A. No, I don't.
    16            MS. McCLURE: Objection.                16      Q. Did that -- your recollection
    17            THE WITNESS: No, I don't.              17 lead to a fine against Cardinal Health?
    18            MS. McCLURE: Asked and answered.       18           MS. McCLURE: Objection, form.
    19 BY MR. PIFKO:                                     19           THE WITNESS: I think it did
    20       Q. But it was a meeting in Chicago          20      after that, but I'm not -- I don't --
    21 at the airport?                                   21      because it seems like they had a couple.
    22       A. I believe it was, yeah.                  22      And I'm not sure if both resulted in
    23       Q. Was that in connection with an           23      fines.
    24 HDMA conference?                                  24 BY MR. PIFKO:


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     1      Q. Okay. And then you know you had             1       2/6/2008, Bates stamped
     2 this meeting that's reflected in Exhibit 2.         2       CAH_MDL2804_01364805 through
     3 Correct?                                             3      CAH_MDL2804_01364809, was marked for
     4      A. Uh-huh.                                      4      identification.)
     5      Q. And then you believe there was               5               - - -
     6 another meeting that you recall. Correct?            6 BY MR. PIFKO:
     7      A. The one at HDA, the one at HDMA              7      Q. Handing you what's marked as Mays
     8 and then the one in Chicago. I think that was        8 Volume 2 Exhibit 3.
     9 all. There may have been another one.                9          For the record, this is a
    10      Q. You think there was another one?            10 Cardinal Health document Bates labeled
    11           MS. McCLURE: Objection to form.           11 CAH_MDL2804_01364805 to 809.
    12           THE WITNESS: I may be thinking            12          Take a moment to review this and
    13      about the same one, the one at the HDA         13 let me know when you're ready.
    14      meeting, that -- it's the two that I can       14      A. Okay.
    15      recall specifically, yeah.                     15          (Reviewing document.)
    16 BY MR. PIFKO:                                       16          Okay.
    17      Q. This meeting reflected in                   17      Q. Have you seen this before?
    18 Exhibit 2, this was a meeting that was ultimately   18      A. I don't recall it.
    19 held. Correct?                                      19      Q. You see at the top it's an email
    20      A. You know, I don't remember the              20 from you to Steve Reardon?
    21 meeting itself, whether we actually had it or       21      A. Yes, I do.
    22 not. I'm -- I don't want to assume, but --          22      Q. Dated February 6, 2008?
    23      Q. Where was this?                             23      A. Yes, I see that.
    24      A. -- it looks like we planned to              24      Q. It's discussing a Bloomberg story
                                                Page 99                                            Page 101
     1 get together, but I just don't remember the        1 about McKesson negotiating shipping restrictions
     2 meeting specifically.                              2 as part of a DEA probe. Agree?
     3       Q. Where was this meeting?                   3       A. Yeah. Yes, I agree.
     4       A. I saw something in the email              4       Q. You forwarded this article to
     5 about me having tickets to Phillies spring         5 Steve Reardon at Cardinal Health. Agree?
     6 training, so I believe that was when the           6       A. That's what it looks like, yes.
     7 conference was in Tampa.                           7       Q. Who is Steve Reardon?
     8       Q. Okay.                                     8       A. He was my counterpart at Cardinal
     9       A. The HDA conference was in Tampa.          9 at the time.
    10       Q. And then you talk about in this          10       Q. And you thought that he would be
    11 email about scheduling a dinner with them as      11 interested to see this article about McKesson?
    12 well?                                             12           MS. McCLURE: Objection, form.
    13           MS. McCLURE: Objection to form.         13           THE WITNESS: I would think so.
    14           THE WITNESS: Yeah. I just don't         14       That would be the only reason I would
    15       recall who went to dinner or not. I just    15       have sent it to him.
    16       don't remember that.                        16 BY MR. PIFKO:
    17 BY MR. PIFKO:                                     17       Q. You had a practice of exchanging
    18       Q. Do you think that you had other          18 information with Mr. Reardon about diversion
    19 meetings with these individuals in subsequent HDA 19 control issues?
    20 conferences?                                      20           MS. McCLURE: Objection, form.
    21       A. I don't recall.                          21           THE WITNESS: No.
    22                - - -                              22 BY MR. PIFKO:
    23           (Deposition Exhibit No. Mays            23       Q. Why do you believe you would have
    24       V2-3, Email chain, top one dated            24 shared this with him on this occasion?

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                                               Page 102                                                   Page 104
     1          MS. McCLURE: Objection to form.             1        record at 1:00 p.m.
     2          THE WITNESS: I don't recall.                2            (Witness excused.)
     3      This was 11 years ago. I don't remember         3            (Deposition concluded at
     4      why I sent it to him.                           4        approximately 1:00 p.m.)
     5 BY MR. PIFKO:                                        5
     6      Q. Did you have regular                         6
     7 communications with Steve Reardon?                   7
     8          MS. McCLURE: Objection, form.               8
     9          THE WITNESS: Well, how -- define            9
    10      regular. Every day, every week, every          10
    11      month, every year?                             11
    12 BY MR. PIFKO:                                       12
    13      Q. With any degree of regularity.              13
    14          MS. McCLURE: Objection to the              14
    15      definition.                                    15
    16          THE WITNESS: What's regularity?            16
    17 BY MR. PIFKO:                                       17
    18      Q. What's regular to you?                      18
    19      A. Regular would be every day.                 19
    20      Q. Did you talk to Steve Reardon               20
    21 with some frequency?                                21
    22          MS. McCLURE: Objection to form.            22
    23          THE WITNESS: I would say                   23
    24      occasionally, at HDA calls, HDA meetings,      24

                                               Page 103                                                   Page 105
     1      things like that. Not a lot of back and         1
     2      forth, no.                                      2              CERTIFICATE
                                                            3
     3 BY MR. PIFKO:
                                                            4
     4      Q. From time to time you would share            5           I HEREBY CERTIFY that the witness
     5 information, though, with him about issues in the      was duly sworn by me and that the deposition is a
                                                            6 true record of the testimony given by the
     6 drug distribution business. Correct?
                                                              witness.
     7      A. Yes. As long as it was not                   7
     8 proprietary information from ABC.                                It was requested before
     9           MR. PIFKO: Go off the record for
                                                            8 completion of the deposition that the witness,
                                                              STEPHEN MAYS, have the opportunity to read and
    10      a minute.                                       9 sign the deposition transcript.
    11           THE VIDEOGRAPHER: Going off the           10
                                                           11
    12      record, 12:56 p.m.
                                                           12
    13               - - -                                 13
    14           (A recess was taken from                           __________________________________
    15      12:56 p.m. to 1:00 p.m.)                       14       ANN MARIE MITCHELL, a Federally
    16               - - -                                          Approved Certified Realtime
                                                           15       Reporter, Registered Diplomate
    17           THE VIDEOGRAPHER: Back on record                   Reporter, Registered Merit Reporter and
    18      at 1:00 p.m.                                   16       Notary Public
                                                           17
    19           MR. PIFKO: All right. We don't
                                                           18
    20      have any further questions at this time.       19             (The foregoing certification of
    21           MS. McCLURE: No further -- no             20   this transcript does not apply to any
    22      questions.                                     21   reproduction of the same by any means, unless
    23           THE VIDEOGRAPHER: This ends
                                                           22   under the direct control and/or supervision of
                                                           23   the certifying reporter.)
    24      today's deposition. We're going off the        24

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                                                                             Review
                                               Page 106                                                         Page 108
     1         INSTRUCTIONS TO WITNESS                      1
     2                                                      2         ACKNOWLEDGMENT OF DEPONENT
                                                            3
     3           Please read your deposition over
     4 carefully and make any necessary corrections.        4           I,_____________________, do
                                                            5 hereby certify that I have read the foregoing
     5 You should state the reason in the appropriate
                                                            6 pages, 1 - 108, and that the same is a correct
     6 space on the errata sheet for any corrections
                                                            7 transcription of the answers given by me to the
     7 that are made.
                                                            8 questions therein propounded, except for the
     8           After doing so, please sign the            9 corrections or changes in form or substance, if
     9 errata sheet and date it.
                                                           10 any, noted in the attached Errata Sheet.
    10           You are signing same subject to           11
    11 the changes you have noted on the errata sheet,     12
    12 which will be attached to your deposition.          13 ________________________________________________
    13           It is imperative that you return          14 STEPHEN MAYS                    DATE
    14 the original errata sheet to the deposing           15
    15 attorney within thirty (30) days of receipt of      16
    16 the deposition transcript by you. If you fail to    17 Subscribed and sworn

    17 do so, the deposition transcript may be deemed to      to before me this
                                                           18 _____ day of ______________, 20____.
    18 be accurate and may be used in court.
                                                           19 My commission expires:______________
    19
                                                           20
    20
                                                              ____________________________________
    21
                                                           21 Notary Public
    22                                                     22
    23                                                     23
    24                                                     24

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                 ERRATA
     2          - - - - - -
     3
     4 PAGE LINE CHANGE
     5 ____ ____ _____________________________________
     6   REASON: _____________________________________
     7 ____ ____ _____________________________________
     8   REASON: _____________________________________
     9 ____ ____ _____________________________________
    10   REASON: _____________________________________
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    19 ____ ____ _____________________________________
    20   REASON: _____________________________________
    21 ____ ____ _____________________________________
    22   REASON: _____________________________________
    23 ____ ____ _____________________________________
    24   REASON: _____________________________________

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